      Case 3:20-cr-01761-JLS Document 36 Filed 10/21/20 PageID.103 Page 1 of 1




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 6                             UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                     Case No.: 20CR01761-JLS
 9
10                Plaintiff,

11         v.
12                                    ORDER CONTINUING
     JAVIER DE JESUS SATURNO PAZ (1), MOTION HEARING/TRIAL SETTING
13   JORGE JOEL VINCES (2),
14   ROGELIO GALLARDO (3),
     MODESTO PINEDA PEDRAZA (4),
15   TEDITH GUSTAVO PEREZ-ACUNA (5),
16
                  Defendants.
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18        GOOD CAUSE EXISTING, IT IS HEREBY ORDERED that the joint motion to
19 continue [ECF No. 35] be GRANTED, and that the Motion Hearing/Trial Setting for the
20 above-captioned defendants be continued from November 06, 2020, at 1:45 p.m. to January
21 15, 2021 at 1:45 p.m. Time is excluded under the Speedy Trial Act for the reasons set forth
22 in the joint motion.
23       IT IS SO ORDERED.
24 Dated: October 21, 2020
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